Case: 22-50692    Document: 00516431042
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                                                                                     FILED
                                                                                 August 12, 2022
           United States Court of Appeals                                     CLERK, U.S. DISTRICT COURT
                                                                              WESTERN DISTRICT OF TEXAS

                                                                                        Jay Vicha
                                                                           BY: ________________________________

                for the Fifth Circuit                                                              DEPUTY



                                  ___________

                                   No. 22-50692
                                  ___________

   Campaign Legal Center; American Civil Liberties Union
   Foundation of Texas; Mexican American Legal Defense
   and Educational Fund, Incorporated; Lawyers
   Committee for Civil Rights Under Law; DEMOS a
   Network for Ideas and Action, Limited,

                                                            Plaintiffs—Appellees,

                                       versus

   John B. Scott, in his official capacity as Secretary of the State of Texas,

                                            Defendant—Appellant.
                   ______________________________

                  Appeal from the United States District Court
                       for the Western District of Texas
                            USDC No. 1:22-CV-92
                  ______________________________

   Before Higginbotham, Stewart, and Dennis, Circuit Judges.
   Per Curiam:
          IT IS ORDERED that Appellant’s opposed motion for stay
   pending appeal is CARRIED WITH THE CASE.
          IT IS FURTHER ORDERED that Appellant’s alternative motion
   for a temporary administrative stay is GRANTED.
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          IT IS FURTHER ORDERED that this matter is expedited to the
   next available randomly designated regular oral argument panel. The Clerk is
   directed to issue a schedule for expedited briefing thereafter.




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                   United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                   TEL. 504-310-7700
CLERK                                                        600 S. MAESTRI PLACE,
                                                                     Suite 115
                                                            NEW ORLEANS, LA 70130

                              August 12, 2022
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 22-50692     Campaign Legal Center v. Scott
                       USDC No. 1:22-CV-92

Enclosed is an order entered in this case.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk



                                   By: _________________________
                                   Mary Frances Yeager, Deputy Clerk
                                   504-310-7686
Mr.   Joseph Aaron Barnes Sr.
Mr.   Ari Cuenin
Ms.   Molly Danahy
Mr.   Philip Devlin
Mr.   Chad Wilson Dunn
Ms.   Danielle Marie Lang
Ms.   Nina Perales
Mr.   Andre Segura
P.S. to Counsel:        The    expedited       briefing   schedule     will      be
forthcoming.
